                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TENNESSEE
                                      AT JACKSON

LOUISE GRAVES by and through                  )
CHUCK GRAVES,                                 )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )      No. 1:22-CV-02296-STA-JAY
                                              )      Judge S. Thomas Anderson
AUTO OWNERS INSURANCE                         )      Magistrate Judge Jon A. York
COMPANY,                                      )
                                              )
        Defendant.                            )

                                   MOTION TO COMPEL

        Comes now Defendant, Auto-Owners Insurance Company (“Auto-Owners”), by and

through counsel pursuant to Fed. R. Civ. P. 37(a), and hereby moves this Honorable Court

for an Order compelling Plaintiff to make full and complete discovery responses to the

outstanding and overdue Interrogatories and First Request for Production within seven (7)

days of entry of an Order granting this Motion. In support of this Motion, Auto-Owners would

show as follows:

        1.       On February 6, 2023, counsel for Auto-Owners propounded Interrogatories,

Requests for Admission and a First Request for Production of Documents upon Plaintiff’s

counsel via email. (See written discovery attached as Exhibits 1 - 3).

        2.       The Requests for Admission, First Request for Production, and Interrogatories

are reasonably calculated to lead to the discovery of admissible evidence and are not

otherwise protected based on Plaintiff’s lack of response at this point.

        3.       As of the day this Motion was filed, Plaintiff has not responded to the Requests

for Admission, First Request for Production, and Interrogatories.



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        4.       Plaintiff’s attorney was advised the discovery responses were overdue by

email dated March 10, 2023. (See attached correspondence as Exhibit 4).

        5.       Plaintiff’s attorney was advised the discovery responses were again overdue

by email communication on April 4, 2023. (See attached correspondence as Exhibit 5).

        6.       Defendant has refused to respond to the outstanding discovery which have

been overdue since March 10, 2023.

        7.       Auto-Owners moves this Honorable Court for an order compelling Plaintiff to

make full and complete discovery responses to the Interrogatories and First Request for

Production pursuant to Fed. R. Civ. P. 37(a).

        8.       Auto-Owners also moves this Honorable Court for an order awarding Auto-

Owners its reasonable expenses, including attorneys’ fees for bringing this Motion due to

Plaintiff’s refusal to respond to the written discovery pursuant to Fed. R. Civ. P. 37(a)(5).

        9.       A proposed Order has been submitted pursuant to Local Rule 7.2(a)(1)(A).

        WHEREFORE, based upon the foregoing, Defendant requests an order: (1) requiring

Plaintiff to fully and completely respond to Auto-Owners’ Interrogatories and First Request

for Production within seven (7) days of an entry of an Order by this Honorable Court; (2)

awarding Auto-Owners its reasonable expenses, including attorneys’ fees for bringing this

Motion; and (3) any additional relief the Court deems equitable and just, for bringing this

Motion.


                                     Respectfully submitted,



                                     s/Matthew B. Rogers__________________________
                                     PARKS T. CHASTAIN
                                     Registration No. 13744


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                        LOCAL RULE 7.2 CERTIFICATE OF CONSULTATION

MATTHEW B. ROGERS, COUNSEL FOR AUTO-OWNERS, CERTIFIES THAT HE HAS
CONSULTED WITH DRAYTON BERKLEY, PLAINTIFF’S COUNSEL, ON MARCH 10,
2023 AND APRIL 4, 2023 IN A GOOD FAITH EFFORT TO RESOLVE THE DISCOVERY
DISPUTE AND THAT THOSE EFFORTS HAVE NOT BEEN SUCCESSFUL.


                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 20th day of April, 2023, a true and correct copy of the
foregoing MOTION TO COMPEL was filed electronically. Notice of this filing will be sent by
operation of the court’s electronic filing system to all parties indicated on the electronic filing
receipt. All other parties will receive a copy via U.S. Mail. Parties may access this file through
the court’s electronic filing system.

Drayton D. Berkley, Esquire
Berkley Law Firm, PLLC
P. O. Box 771048
Memphis, TN 38177

                                      s/Matthew B. Rogers_________________________
                                      MATTHEW B. ROGERS

PTC:
MBR:mbr




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